






Opinion issued May 10, 2007


















In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00284-CV






IN RE ALBERT ORTIZ AND ROBERT ORTIZ, Relators






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION


	By petition for writ of mandamus, relators, Albert Ortiz and Robert Ortiz, challenge the
trial court's (1) April 3, 2007 order requiring the production of certain medical records.

	We deny the petition for writ of mandamus.

PER CURIAM



Panel consists of Justices Nuchia, Hanks, and Bland.	

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